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PUBLIC DISCLOSURE

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

United States of America, No.
Plaintiff,
vs.
VIO:
Cayla Farris,
Defendant.
THE GRAND JURY CHARGES:
COUNT 1

On or about February 13, 2022, in the District of Arizona and elsewhere, the
defendant, CAYLA FARRIS, on an aircraft in the special aircraft jurisdiction of the United
States, namely American Airlines Flight 694 from Phoenix, Arizona to Honolulu, Hawaii,

did knowingly interfere with the performance of the duties of R.S., a flight crew member

CR-22-1393-PHX-SMB (ESW)

INDICTMENT

49 U.S.C. § 46504

(Interference with a Flight Crew
Member)

Count 1

of the aircraft, and lessen the ability of R.S. to perform those duties, by intimidating R.S.

while the aircraft was in flight.
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All in violation of Title 49, United States Code, Section 46504.

A TRUE BILL

\s\
FOREPERSON OF THE GRAND JURY
Date: October 25, 2022

GARY M. RESTAINO
United States Attorney
District of Arizona

\s\
KEVIN C. HAKALA
GENEVIEV A. OZARK
Assistant U.S. Attorneys

